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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,
                 Plaintiffs,                                 4:15CR3026
    vs.
                                                               ORDER
JOSE PRECIADO,
                 Defendants.



     IT IS ORDERED:

     1)    Defendant’s motion to continue, (filing no. 75), is granted.

     2)    The evidentiary hearing on defendant Preciado's motion to suppress, (filing
           no. 68), will be held before the undersigned magistrate judge on November
           24, 2015 at 2:00 p.m. in Courtroom #2, United States Courthouse, Lincoln,
           Nebraska. Two hours have been set aside for this hearing.

     3)    Defendant Preciado’s amended or supplemental motion to suppress shall be
           filed on or before November 10, 2015. The government’s responsive brief
           shall be filed on or before November 17, 2015.

     November 3, 2015.

                                              BY THE COURT:
                                              s/ Cheryl R. Zwart
                                              United States Magistrate Judge
